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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

 

 

PHYTO TECH CORP. D/B/A BLUE
CALIFORNIA, Case No. 1:19-cv-09033-J GK
Plaintiff,
v.
GIVAUDAN, SA,
Defendant.

 

 

[PROPOSED] ORDER GRANTING LIQUIDATING TRUSTEE’S MOTION FOR
LIMITED STAY OF ORDER APPROVING LIQUIDATING TRUSTEE’S FINAL
REPORT AND GRANTING MOTION FOR APPROVAL OF THE TRUSTEE’S
PROPOSED WIND UP AND DISSOLUTION OF BGN TECH, LLC

This matter coming before the Court on the Liguidating Trustee's Motion for Limited Stay
of Order Approving Liquidating Trustee's Final Report and Granting Motion for Approval of the

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Trustee's Proposed Wind Up and Dissolution of BGN Tech, LLC (the “Mation”); : and the Court ped? v~ Ton.
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having reviewed and considered the Motion; and after due deliberation thereon; and good and bs

sufficient cause appearing therefor; it is: bentil, Wer :

HEREBY ORDERED, ADJUDGED AND DECREED: .

1. The Motion is GRANTED as set forth herein.

2. The application of Paragraphs 4 and 5 of the Order Approving Liquidating
Trustee’s Final Report and Granting Motion for Approval of the Trustee's Proposed Wind Up and
Dissolution of BGN Tech, LLC [Docket No. 100] (the “Approval Order”) is hereby stayed pending

the conclusion of the Appeai of the Approval Order, which is pending in the United States Court

 

' Capitalized terms used butnotdefined herein have the meanings ascribed to such terms in the Motion.

 
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of Appeals for the Second Circuit. For the avoidance of doubt, the remainder of the Approval
Order shall not be subject to the foregoing stay pending the Appeal.
3. The Trustee shall not be required to post a bond or other security m connection with

the stay issued pursuant to this Order.

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Dated: / {i [[ PS Me ASL (2 (LEP
- HONORABLE JOHN G. KOELTL

\_ UNITED STATES DISTRICT JUDGE

 

 
